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Plaintiffs,

Civil Action No. 05 ~2138-BP
Jury Trial Demanded

V.

RlTE AlD CORP, et al.

Defendants.

 

CONSENT ORDER FOR EXTENSION OF TIME lN WHICH
TO ANSWER OR OTHERWISE PLEAD

 

lt appearing to the Court that, upon consent of the parties as evidenced by the signatures
oi" their attorneys herein below, the time by which to serve an answer or other responsive
pleading shall be set by agreement as August 12, 2005, for Defendants Rite Aid Corporation,
Doris Jordan and Joseph Stein.

IT lS, THEREFORE, ORDERED, that the time by which to serve an answer or other
responsive pleading shall set as August 12, 2005, for Defendants Rite Aid Corporation, Doris

lordan and Joseph Stein.

 

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Attorneys for Defendants Rite Aid Corporation,
Doris Jordan and Joseph Stei.n

 

UNITED`TATES …iRiTURT- WE"'Ri\tsEDIsTCRIT oFTNNEESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 5 in
case 2:05-CV-02138 was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

